Exhibit 1
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

HARMONY HAUS
L.L.C., LING ZHOU, AND FENGLIN
DU

Plaintiffs,
v. CIVIL ACTION NO. 1:20-CV-486-XR

PARKSTONE PROPERTY OWNERS
ASSOCIATION, INC.

Defendant.

A CO) UM LO) LO (OD GE CO GO GO). GS.

Declaration of Brian Pye

1. I am over 18 years of age, of sound mind, and fully competent to make this
Declaration.

2, Ireside at 4001 Preservation Cove, Austin, Texas 78746. lama duly-elected
director and unpaid volunteer for the Board of Directors at the Parkstone Property
Owners Association, Inc. I have lived in this neighborhood since 2010. Unless otherwise
stated, I have personal knowledge of the facts stated in this Declaration, and they are true
and correct.

3. There were a few occasions before Harmony Haus arrived when cars were
parked for more than 12 hours on the street, but in most cases the residents responded to
a notice of violation and no fines or penalties were imposed. However, before Harmony
Haus arrived we stated fines would be imposed in a few cases.

4. Years before Harmony Haus’ arrival, and completely unconnected with
Harmony Haus, the owners of the Residence (defined below) had received parking

violation notices for parking issues (see Exhibit 1-B).

Pagel
5. After the arrival of Harmony Haus there was a noticeable increase in street
parking violations, apparently driven by the perception that the rule was not being
enforced because of the cars parked outside Harmony Haus.

6. After the Court’s Final Judgment, the Parkstone Property Owners
Association, Inc. (“Parkstone”) amended its rules to follow the Court’s guidance on
having consistent and even-handed enforcement in the Parkstone community including
for the residents at 2105 Real Catorce in Austin, Texas 78746 (“Residence”). A detailed
fining schedule had been discussed for years, even before Harmony Haus’ arrival, but had
not been implemented. With Harmony Haus consistently ignoring the parking
restrictions and other residents increasingly unwilling to obey those restrictions
Parkstone wanted to ensure there was a clear and consistent enforcement schedule for
everyone to follow.

7. Since the Court entered its judgment there has been consistent enforcement
of Parkstone’s parking restrictions. In addition to the homeowners of the Residence, at
least three other homeowners have received violation letters on Parkstone’s twelve-hour
parking restrictions and fines have been imposed on them (see Exhibit 1-A). However, of
the approximately 310 parking violations after the trial that occurred, more than 220 have
been associated with Harmony Haus.

8. Parking violations have not been the only violations of the Declaration by
Harmony Haus. After occupying the Residence, Harmony Haus put extremely bright
exterior string lighting in the backyard of the house. Harmony Haus did not seek prior
approval as required by Sections 1.12 and 2.16 of Parkstone’s Revised and Restated
Declaration of Covenants, Conditions and Restrictions Parkstone P.U_D. Phase I Travis
County, Texas (“Declaration”) which requires all improvements, expressly including

Page 2
exterior lighting fixtures and equipment, to be approved prior to installation. That
requirement has existed since the inception of the Declaration, since 1998.

9. Harmony Haus has been repeatedly warned that its lighting violated the
Declaration but has refused to either seek approval or change the lighting, with the result
that Parkstone has been forced to issue violation notices and fines related to lighting as
well as parking,

10. Making an exception to our parking rules for Harmony Haus will harm the
neighborhood and its relationship with Harmony Haus. It will harm the neighborhood
because residents who believe the parking rules are not being fairly enforced are likely to
violate them. Everyone in Parkstone knows that in the Judgment allowing Harmony Haus
to have 12 residents, the Court said that Harmony Haus should follow our parking rules.
When it does not, other residents feel free to ignore the rules as well. This is exactly what
I observed after Harmony Haus first moved in and began parking cars on the street.

11. Making an exception for Harmony Haus will create a continued rift between
Harmony Haus and the neighborhood as well because it will only confirm what many
people, including myself, already believe, which is that Harmony Haus has no interest at
all in being a good neighbor.

I have reviewed the foregoing Declaration and I declare under penalty of perjury

that the foregoing statements are true and correct.

7
Date: May jd, 2020 SEZ
vo Zee

Page 3
Exhibit 1-A
 

 

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873

 

 

alice.english@goodwintx.com
March 17, 2020
Victor Lai via certified mail and email victlai@gmail.com
2204 Real Catorce
Austin, Texas 78746 91 7499 4991 7039 6636 7552

Re: Notice of violations, Parkstone Property Owners’ Association, Inc.
Dear Victor,

This is to notify you of violations of the dedicatory instruments of the Parkstone Property Owners’
Association, Inc. Involving parking.

One of the primary roles of the Association is to help ensure that all residents abide by the deed restrictions
in the community. We are sending this letter in hopes that you will cure these violations in a timely manner
and bring your lot into compliance. You may cure this violation and avold fines or further enforcement action
by, no later than March 22th, 2020:

1) permanently ensuring that all resident and guest parking at your home is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than

12 hours, and traffic signs must be obeyed. Relevant sections of the community rules are attached to
this letter for reference.

Failure to cure by the deadlines noted above may result In fines and/or further enforcement action. Fines
may be levied in accordance with the association’s fine schedule, also attached for reference. In short, initial
fine(s) would be $25/violation, with increasing fines should the violation continue.

State Law Notice: Ifyou are currently serving on active military duty, you may be entitled to special
rights of relief related to this enforcement action under federal law, including the Servicemembers Civil Relief
Act. You may request a hearing before the Association’s board of directors to discuss and verify facts related
to this violation in an attempt to resolve this matter. Any such request must be submitted in writing to our
office within 30 days of the date of this letter. If you do not cure the violation by the deadline noted above,
attorneys’ fees and other enforcement costs may be assessed to your account in accordance with state law.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours at a time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking ts allowed within 20 feet of a street corner, within 15 feet ofa fire
hydrant, or within 30 feet of a stop or yleld sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

. Per violation. In the case of a parking violation, cach vehicle and each instance of violation after the deadline to cure
is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

‘This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means all property in th
Parkstone neighborhood — including strects and other common areas, yer , “we
 

 

r
c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873
alice.english@goodwintx.com

 

March 27, 2020

Victor Lai via certified mail and email victlai@gmail.com
2204 Real Catorce
Austin, TX 78746

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2204 Real Catorce
Dear Victor,

This is in follow up to our prior notice of March 17, 2020 related to violations of the dedicatory instruments
of the Parkstone Property Owners’ Association, Inc, involving parking.

In that letter you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by, no later than March 22nd, 2020:

1) permanently ensuring that all resident and guest parking at your home is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than
12 hours, and traffic signs must be obeyed. Relevant sections of the community rules are attached to
this letter for reference.

Since March 17* however there have been three instances of parking violations for longer than the 12-hour
maximum time period. Fines of $25/violation have been assessed, for a total of $75, Should further violations

continue and additional notifications be required, fines will increase to $50 per violation, with continued
increases per the attached schedule,

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,
Alice English, Goodwin Management, managing agent

Certified Article Number
414 72bb WON 2lb2 70349 Ae

SENDER’S RECORD

 
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property? for longer than 12 hours at atime. In other words there is a 12-hour

time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left ina driveway or garage. The “Property” per the Declaration means all property in the
Parkstone neighborhood ~ including streets and other common areas.
 

 

arks e :
c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873

alice.english@goodwintx.com

rape Se Ce a
April 6, 2020 Certified Article Number

S44 7266 F904 elbe 7040 50

Victor Lai via certified mail and email victlai@gmail.com SENDER’S RECORD
2204 Real Catorce

Austin, TX 78746

 

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2204 Real Catorce

Dear Victor,

This is in follow up to our prior notice related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc, involving parking.

You may cure parking violations by permanently ensuring that all resident and guest parking at your home is
performed in accordance with the restrictions, including that no car may be parked on the street fora
duration of more than 12 hours, and traffic signs must be obeyed. Relevant sections of the community rules
are attached to this letter for reference.

Eighteen additional violations have been noted. Per the fining schedule $50/violation has been levied, for a
total of $900 in fines. Should further violations continue and additional notifications be required, fines will
increase per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours at a time. In other words there is a 12-hour

time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet ofa fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This |2-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means al) property in the
Parkstone neighborhood — including streets and other common areas.
 

 

r r oO
c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (S12) 346-4873
alice.english@goodwintx.com

     
  

  

Certified Article Number
942.4 ?72bb WIO4 2lbe 7ORL 2d

April 17, 2020 SENDER’S RECORD

Victor Lai via certified mail and email victlai@gmail.com

2204 Real Catorce
Austin, TX 78746

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2204 Real Catorce

Dear Victor,

This is in follow up to our prior notices related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc. involving parking.

You were previously informed that you may cure parking violations by ensuring that all resident and guest
parking at your home is performed in accordance with the restrictions, including that no car may be parked
onthe street for a duration of more than 12 hours, and traffic signs must be obeyed, Relevant sections of the
community rules are attached to this letter for reference.

Twenty one additional violations have been noted. Per the fining schedule $100/violation has been levied, for
a total of $2,100 in fines. Should further violations continue and additional notifications be required, fines will
increase per the attached schedule.

Part of living in a deed-restricted community is the legal obligation to abide by the rules of the community. The
board realizes that in a community of this size it is not realistic that all owners and residents will agree with
the rules, but the rules are in place and all owners have a legal obligation to honor them. The Parkstone deed
restrictions from the inception contemplated a community with limited street parking, a 12-hour parking
limit. This is important for aesthetics, safety, and emergency responder access, but perhaps most importantly
it is arule that all owners by virtue of their purchase agreed to abide by. For every owner who dislikes the
parking rule, there is one or more owners who expect the parking rule to be adhered to and enforced; neighbors
have a right to expect the restrictions to be honored.

The board is amenable, if violations can be rectified promptly and compliance maintained going forward, to
considering adjusting the fines accrued to date. You are welcome to submit an adjustment request in a month
for the board’s consideration.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours ata time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means all property in the
Parkstone neighborhood — including streets and other common areas.
 

 

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227

512) 502-7518 fax (512) 346-4873 7 5
iam ~ Certified Article Number

alice.english@goodwintx.com
9414 72ebb 9904 2lbe 7Oeb O21

April 30, 2020 SENDER’S RECORD.

Victor Lai via certified mail and email victlai@gmail.com
2204 Real Catorce
Austin, TX 78746

   
   

 

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2204 Real Catorce
Dear Victor,

This is in follow up to our prior notices related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc. involving parking.

You were previously informed that you may cure parking violations by ensuring that all resident and guest
parking at your home is performed in accordance with the restrictions, including that no car may be parked
on the street for a duration of more than 12 hours, and traffic signs must be obeyed. Relevant sections of the
community rules are attached to this letter for reference.

Five additional violations have been noted. Per the fining schedule $125/violation has been levied, for a total
of $625 in fines. Should further violations continue and additional notifications be required, fines will increase
per the attached schedule.

Part of living in a deed-restricted community is the legal obligation to abide by the rules of the community. The
board realizes that in a community of this size it is not realistic that all owners and residents will agree with
the rules, but the rules are in place and all owners have a legal obligation to honor them. The Parkstone deed
restrictions from the inception contemplated a community with limited street parking, a 12-hour parking
limit. This is important for aesthetics, safety, and emergency responder access, but perhaps most importantly
itis a rule that all owners by virtue of their purchase agreed to abide by. For every owner who dislikes the
parking rule, there is one or more owners who expect the parking rule to be adhered to and enforced; neighbors
have a right to expect the restrictions to be honored.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property? for longer than 12 hours ata time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car to a
different portion of the street within the property does not re-start the 12-hour clock.

. Residents must respect all street traffic signs In the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

. No parking Is allowed within 20 feet of a street corner, within 15 feet ofa fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than Indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure
is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means all property in the
Parkstone neighborhood — including streets and other common areas.
 

 

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873

 

 

 

alice.english@goodwintx.com |
March 17, 2020
Rafik & Rozmin Momin via certified mail and email rsmomin@gmail.com
2201 Real Catorce
Austin, Texas 78746

91 7199 9992 7035 6636 7544

Re: Notice of violations, Parkstone Property Owners’ Association, Inc.
Dear Rafik and Rozmin,

This is to notify you of violations of the dedicatory instruments of the Parkstone Property Owners’
Association, Inc. involving parking.

One of the primary roles of the Association is to help ensure that all residents abide by the deed restrictions
in the community. We are sending this letter in hopes that you will cure these violations in a timely manner
and bring your lot into compliance. You may cure this violation and avoid fines or further enforcement action
by, no later than March 22th, 2020:

1) permanently ensuring that all resident and guest parking at your home Is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than
12 hours, and traffic signs must be obeyed. Relevant sections of the community rules are attached to
this letter for reference.

Failure to cure by the deadlines noted above may result In fines and/or further enforcement action. Fines
may be levied in accordance with the association's fine schedule, also attached for reference. In short, initial
fine(s) would be $25/violation, with increasing fines should the violation continue.

State Law Notice: If you are currently serving on active milltary duty, you may be entitled to special
rights of relief related to this enforcement action under federal law, including the Servicemembers Civil Relief
Act. You may request a hearing before the Association’s board of directors to discuss and verify facts related
to this violation in an attempt to resolve this matter. Any such request must be submitted in writing to our
office within 30 days of the date of this letter. If you do not cure the violation by the deadline noted above,
attorneys’ fees and other enforcement costs may be assessed to your account in accordance with state law.

On behalf of the association we thank you in advance for your assistance in resolving this matter,

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property? for longer than 12 hours at a time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means all property in the
Parkstone neighborhood — including streets and other common areas
 

 

Parkstone Property Owners’ Association, Inc.

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873
alice.english@goodwintx.com

    

Certified Article Number
94.4 72bb WOU 2Lb2 7040 4h

April 10, 2020 SENDER’S RECORD

Rafik and Rozmin Momin via certified mail and email rsmomin@gmail.com

2201 Real Catorce
Austin, TX 78746

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc, 2201 Real Catorce
Dear Rafik and Rozmin,

This is in follow up to our prior notice of March 17, 2020 related to violations of the dedicatory instruments
ofthe Parkstone Property Owners’ Association, Inc. involving parking.

In that letter you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by, no later than March 22nd, 2020, permanently ensuring that all resident and guest
parking at your home is performed in accordance with the restrictions, including that no car may be parked
on the street for a duration of more than 12 hours, and traffic signs must be obeyed. Relevant sections of the
community rules are attached to this letter for reference.

Since March 22nd however there have been 10 instances of parking violations for longer than the 12-hour
maximum time period. Fines of $25/violation have been assessed, for a total of $250. Should further
violations continue and additional notifications be required, fines will increase to $50 per violation, with
continued increases per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property’ for longer than 12 hours ata time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car to a
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet ofa fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage, The “Property” per the Declaration means all property in the
Parkstone neighborhood — including streets and other common areas. "
 

 

rs’ i
c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873 2
Certified Article Number

alice.english@goodwintx.com
9414 72bb 9904 ebbe 7Oeb 1d

April 30, 2020 ya eas pon nt eo) | ey

Rafik and Rozmin Momin via certified mail and email rsmomin@gimail.com
2201 Real Catorce
Austin, TX 78746

   
   

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2201 Real Catorce

Dear Rafik and Rozmin,

This is in follow up to our prior notices related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc. involving parking.

In that letter you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by, no later than April 30, 2020, permanently ensuring that all resident and guest parking
at your home is performed in accordance with the restrictions, including that no car may be parked on the
street for a duration of more than 12 hours, and traffic signs must be obeyed. Relevant sections of the
community rules are attached to this letter for reference.

There have been 2 new instances of parking violations for longer than the 12-hour maximum time period. Fines
of $50/violation have been assessed, for a total of $100. Should further violations continue and additional
notifications be required, fines will levy per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter, Part of living
in a deed-restricted community is the legal obligation to abide by the rules of the community. The board
realizes that ina community of this size it is not realistic that all owners and residents will agree with the rules,
but the rules are in place and all owners have a legal obligation to honorthem. The Parkstone deed restrictions
from the inception contemplated a community with limited street parking, a 12-hour parking limit. This is
important for aesthetics, safety, and emergency responder access, but perhaps most importantly it is a rule that
all owners by virtue of their purchase agreed to abide by. For every owner who dislikes the parking rule, there
is one or more owners who expect the parking rule to be adhered to and enforced; neighbors have a right to
expect the restrictions to be honored.

The board is amenable, if violations can be rectified promptly and compliance maintained going forward, to

considering adjusting the fines accrued to date. You are welcome to submit an adjustment request in a month
for the board’s consideration.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours ata time. In other words there [s a 12-hour

time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs, Residents must respect all street traffic signs In the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet ofa fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18" from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) ;

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure
is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation,

 

* This 12-hour limitation docs not apply to vehicles parked or left in 9 driveway or gara The “Property” per the Declaration means all
Parkstone acighborhood ~ including streets and other common areas. Yr Base: veer =
 

 

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873
alice.english@goodwintx.com

 

 

March 17, 2020

Alan and Tracey Stephens . via certified mail and regular mail
2200 Real Catorce

Austin, Texas 78746 91 7199 9991 7039 bb3b 7537

Re: Notice of violations, Parkstone Property Owners’ Association, Inc.
Dear Alan and Tracey,

This is to notify you of violations of the dedicatory instruments of the Parkstone Property Owners’
Association, Inc. involving parking.

One of the primary roles of the Association is to help ensure that all residents abide by the deed restrictions
in the community. We are sending this letter in hopes that you will cure these violations ina timely manner
and bring your lot into compliance. You may cure this violation and avoid fines or further enforcement action
by, no later than March 27th, 2020:

1) permanently ensuring that all resident and guest parking at your home is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than
12 hours, and traffic signs must be obeyed. Relevant sections of the community rules are attached to
this letter for reference.

Failure to cure by the deadlines noted above may result in fines and/or further enforcement action. Fines
may be levied in accordance with the association's fine schedule, also attached for reference. In short, initial
fine(s) would be $25/violation, with increasing fines should the violation continue.

State Law Notice: Ifyou are currently serving on active military duty, you may be entitled to special
rights of relief related to this enforcement action under federal law, including the Servicemembers Civil Relief
Act. You may request a hearing before the Association's board of directors to discuss and verify facts related
to this violation in an attempt to resolve this matter. Any such request must be submitted in writing to our
office within 30 days of the date of this letter. If you do not cure the violation by the deadline noted above,
attorneys’ fees and other enforcement costs may be assessed to your account in accordance with state law.

On behalf of the association we thank you in advance for your assistance In resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property’ for longer than 12 hours ata time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.¢., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional noticc),

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure

is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation docs not apply to vehicles parked or Icft in a driveway or garage. The “Property” per the Declaration means oll in the
Parkstone ncighborhood - including sirecis and other common areas. propeny
 

 

Parkstone Property Owners’ Association, Inc.
c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873
alice.english@goodwintx.com

 

 

April 10, 2020 Certified Article Number
S414 ?2ebb S904 2lbe 7OuO 74

Alan and Tracey Stephens via certified mail and regular mail
2200 Real Catorce SENDER’S RECORD

Austin, TX 78746

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2200 Real Catorce

Dear Alan and Tracey

This is in follow up to our prior notice of March 17, 2020 related to violations of the dedicatory instruments
of the Parkstone Property Owners’ Association, Inc. involving parking.

In that letter you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by, no later than March 27th, 2020 permanently ensuring that all resident and guest
parking at your home is performed in accordance with the restrictions, including that no car may be parked
on the street for a duration of more than 12 hours, and traffic signs must be obeyed. Relevant sections of the
community rules are attached to this letter for reference.

Since the deadline to cure however there have been 10 instances of parking violations for longer than the 12-
hour maximum time period. Fines of $25/violation have been assessed, for a total of $250. Should further
violations continue and additional notifications be required, fines will increase to $50 per violation, with
continued increases per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours at a time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

No parking areas. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (1.¢., set fines higher or lower
than indicated below), so long as that decision ts based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subscquent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice),

*Per violation. In the case of a parking violation, each vehicle and cach instance of violation after the deadline to

cure is a separate violation. In the casc of a lighting violation, cach day the unapproved lighting remains past the
deadline to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garnge. The “Property” per the Declaration means all property in the
Parkstone neighborhood ~ including streets and other common ascas.
 

 

 
  
   

c/o Goodwin and Company

11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873 rr 5
alice.english@goodwintx.com rere aR Co Cm NULL

94L4 72bb W104 ehbe 7041 bh

April 10, 2020 SENDER’S RECORD

Alan and Tracey Stephens via certified mail and email alan.stephens@amdocs.com
2200 Real Catorce
Austin, TX 78746

 

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc, 2200 Real Catorce
Dear Alan and Tracey

This is in follow up to our prior notices related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc. involving parking.

In prior letters you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by ensuring that all resident and guest parking at your home is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than 12 hours,
and traffic signs must be obeyed. Relevant sections of the community rules are attached to this letter for
reference.

There have been seven additional instances of parking for longer than the 12-hour maximum time period. Fines
of $50/violation have been assessed, for a total of $350. Should further violations continue and additional
notifications be required, fines will increase per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter. Part of living
in a deed-restricted community is the legal obligation to abide by the rules of the community. The board
realizes that ina community of this size it is not realistic that all owners and residents will agree with the rules,
but the rules are in place and all owners have a legal obligation to honorthem. The Parkstone deed restrictions
from the inception contemplated a community with limited street parking, a 12-hour parking limit. This is
important for aesthetics, safety, and emergency responder access, but perhaps most importantly itis a rule that
all owners by virtue of their purchase agreed to abide by. For every owner who dislikes the parking rule, there
is one or more owners who expect the parking rule to be adhered to and enforced; neighbors have a right to
expect the restrictions to be honored.

The board is amenable, if violations can be rectified promptly and compliance maintained going forward, to

considering adjusting the fines accrued to date. You are welcome to submit an adjustment request in a month
for the board’s consideration.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

No vehicle (including motorcycles and scooters} may be parked or left
on any portion of the Property! for longer than 12 hours at a time. In other words there is a 12-hour
time limit for any vehicle to be parked on a street anywhere on the Property; moving a car to a
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

. No parking is allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yleld sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25,00 fine*
If the violation remains uncured/re-occurs after the initial fine(s);

B, Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine";
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure
is a separate violation. In the case of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation,

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage. The “Property” per the Declaration means all property in the
Parkstone neighborhocd — including streets and other common areas.
 

 

_

c/o Goodwin and Company
11149 Research, Suite 100, Austin, TX 78759-5227
Voice (512) 502-7518 fax (512) 346-4873
alice.english@goodwintx.com Certified Article Number

F444 P2bb W904 elbe 7Oeb 74

April 30, 2020 SENDER’S RECORD

Alan and Tracey Stephens via certified mail and email alan.stephens@amdocs.com
2200 Real Catorce
Austin, TX 78746

 

Re: Notice of additional violations, Parkstone Property Owners’ Association, Inc. 2200 Real Catorce
Dear Alan and Tracey

This is in follow up to our prior notices related to violations of the dedicatory instruments of the Parkstone
Property Owners’ Association, Inc. involving parking. Prior notices were sent March 17, April 10", and April
17% (the notice mailed and emailed April 17 was mistakenly dated April 10**).

In prior letters you were provided opportunity to address ongoing violations and to avoid fines and further
enforcement action by ensuring that all resident and guest parking at your home is performed in accordance
with the restrictions, including that no car may be parked on the street for a duration of more than 12 hours,
and traffic signs must be obeyed. Relevant sections of the community rules are attached to this letter for
reference.

There have been two additional instances of parking for longer than the 12-hour maximum time period. Fines
of $100/violation have been assessed, for a total of $200. Should further violations continue and additional
notifications be required, fines will increase per the attached schedule.

On behalf of the association we thank you in advance for your assistance in resolving this matter. Part of living
in a deed-restricted community is the legal obligation to abide by the rules of the community. The board
realizes that ina community of this size it is not realistic that all owners and residents will agree with the rules,
but the rules are in place and all owners have a legal obligation to honorthem. The Parkstone deed restrictions
from the inception contemplated a community with limited street parking, a 12-hour parking limit. This is
important for aesthetics, safety, and emergency responder access, but perhaps most importantly itis a rule that
all owners by virtue of their purchase agreed to abide by. For every owner who dislikes the parking rule, there
is one or more owners who expect the parking rule to be adhered to and enforced; neighbors have a right to
expect the restrictions to be honored.

Sincerely,

Alice English, Goodwin Management, managing agent
Portions of restrictions related to parking:

Street parking time limitation. No vehicle (including motorcycles and scooters) may be parked or left
on any portion of the Property! for longer than 12 hours ata time. In other words there is a 12-hour

time limit for any vehicle to be parked on a street anywhere on the Property; moving a car toa
different portion of the street within the property does not re-start the 12-hour clock.

Traffic signs. Residents must respect all street traffic signs in the neighborhood (for example all
vehicles must fully stop at stop signs and abide by any posted speed limit).

. No parking ts allowed within 20 feet of a street corner, within 15 feet of a fire
hydrant, or within 30 feet of a stop or yield sign. Vehicles parked on the street must be parked no
further than 18” from the curb.

Fine schedule
(Per the fine policy, the Board may vary from this schedule on a case-by-case basis (i.e., set fines higher or lower
than indicated below), so long as that decision is based upon the facts surrounding that particular violation) :

A. 209 Violation Notice: $25.00 fine*
If the violation remains uncured/re-occurs after the initial fine(s):

B. Subsequent Violation Notices: $50.00 fine*;
$100.00 fine*;
$125.00 fine*;
(Increases $25.00 for each additional notice).

*Per violation. In the case of a parking violation, each vehicle and each instance of violation after the deadline to cure
is a separate violation. In the casc of a lighting violation, each day the unapproved lighting remains past the deadline
to cure is a separate violation.

 

' This 12-hour limitation does not apply to vehicles parked or left in a driveway or garage, The “Property” per the Declaration means all property in the
Parkstone neighborhood —- including streets and other common areas.
Exhibit 1-B
Parkstone POA

c/o Goodwin Management, Inc.
11149 Research Blvd. Suite 100, Austin TX 78759-5227

Office (512) 502-7517
October 1, 2014 UnitKey: 91457
VID: 464884
Ling Zhou and Fengiin Du
2105 Real Catorce

Austin, TX 78746

RE: ‘1st violation - 2105 Real Catorce
Violation Date - 9/30/2014; Fine Assessed: $0.00
Property Inspected by Board of Directors

Dear Homeowner:

As the owner of the above captioned property it is your responsibility to comply with the Conditions, Covenants, and
Restrictlons (CCR’s) and rules and regulations concerning the association. Please accept this letter as a friendly reminder

that you are in violation of the CCR's and/or rules and regulations as follows:
Parking - Excessive parking in street is not allowed.

Comments: PARK IN YOUR DRIVEWAY AND NOT ON THE HOA'S STREET

‘The Board, acting on behalf of all the owners, sets the policy to enforce the CCR's and rules and regulations in order to
preserve and enhance property values.

Your ccoperation in curing any existing violations and preventing future violations Is greatly appreciated.
on Behalf of the Board of Directors of Parkstone POA,

Cart Gauble

Carl Gamble, Property Manager
direct office line (612) 502-7517
email: Carl.Gamble@goodwintx.com

The following information Is required by law: As the property owner you are entitled to a reasonable period of time to cure
this violation if the association has not notified you of the same or a similar violation within the past 6 months in order to
avoid any fines or any suspension of your rights as an association member. If this violation, or a similar type of violation,
has occurred in the past six months, you may be liable for fines, If a fine has been assessed, it is noted in this letter, You
may request a hearing before the Board to discuss and verify facts and resolve the matter in issue. Your written request
for a hearing must be submitted within 30 days of your receipt of this letter. Any such hearing will take place within 30
days following the date your request is received by the Board. in the event an attomey is retained to enforce compliance
or the collection of any money due fo the association, you will be responsible for the payment of attomey’s fees and/or
costs of collection after the expiration of 30 days of the date you receive this letter if no hearing hes been requested, or
immediately after any such hearing provided the Board does not waive the fine(s). Owners may have special rights or
relief related to the violation under federal law, including the Service Members Civil Relief Act (50 USC app. Section 501
et seq) if a homeowner is on active military duty, Please notify us immediately if you are a Service Member.
NIEMANN & HEYER, L.L.P.
ATTORNEYS AT LAW
WESTGA'TE BUILDING, SUITE 313
1122 COLORADO STREET
AUSTIN, TEXAS 78701-2101

CONNIE NIEMANN HEYER TELEPHONE (512) 474-6901
WILLIAM M, HEYER FAX (512) 474-0717
EMILY K. NEWELL CONNIEHEY ER@NIEMANNLAW.COM

WILLIAMHEY ER@NIEMANNLAW.COM
EMILY NEWELL@NIEMANNLAW,.COM

October 23, 2014

via first class mail, certified mail, return receipt requested,
and email (fenglindu@ hotmail.com; lingzhou200] @hotmail.com)

Certified Article Number

Ling Zhou and Fenglin Du 7L%b 9006 9111 813b S226
Sone tx 1747
Sugarland, TX 77479 Sedat BLS) ee

Re: Deed restriction violations (rental violations, parking violations), Parkstone
Property Owners Association, Inc., 2105 Real Catorce

Dear Mr. Zhou and Ms. Du,

This firm represents the Parkstone Property Owners Association, Inc. (“Association”).
This letter is to notify you that you and your tenants have committed violations of the
Association’s deed restrictions. Your leasing to multiple men, reportedly 4-6 living there are any
one time, is in violation of the single family use restriction of the deed restrictions. Additionally,
your tenants have been parking on the streets in violation of the Association’s deed restrictions.

The Association’s deed restrictions prohibit apartment houses, flats, lodging houses or
hotels, and also restrict use to single family use only. (Declaration §2.1). It appears clear that
between 4 to 6 (and possibly more) unrelated males are residing in your home. Furthermore,
your home is listed as a homestead exempt property, and that exemption is only allowable if the
home is your principal residence. This latter matter is not an association matter but you may
wish to speak with your own attorney about it.

Additionally, the Association’s Declaration §2.11(a) prohibits vehicles from being parked
on the street for longer than twelve (12) hours at a time. Your tenants and/or their guests leave
their vehicles on the street for extended periods of time in violation of this Declaration provision.

You may cure the single family use violation and avoid further enforcement action for
this violation by, no later than 30 days from the date of this letter, returning the use of the
property to single family use and providing confirmation of this to the Association. You may
cure the parking violations and avoid further enforcement action for this violation by, no later
than 5 days from the date of this letter, ensuring that no violations of the parking restrictions
outlined above are committed by your tenants or their guests or invitees.

Additionally, per state law requirements, please be informed all further enforcement
costs, including attorneys’ fees, may be assessed to your account if the respective violations are
not cured by the deadlines noted above.
State law notice: You have 30 days to request a hearing before the board to discuss these
violations should you choose to do so. Owners may have special rights or relief related to the
enforcement action under federal law, including the Servicemembers Civil Relief Act (50 USC
app. Section 501 et seq) if an owner is serving on active military duty.

Your prompt attention to this matter is appreciated. The Board has every wish to settle
this matter amicably, and appreciates in advance your cooperation in seeing that this matter is
resolved promptly. Thank you.

 

Sincerely,

Bes HEYER, L.L.P.

By £22 Crwnnr Ae, —_
“Connie N. Heyer Oo

Xc: Carl Gamble, via email

Fileserver: CLIENTS: Parkstone:2105 Reat Catorce Dr: Violation trReatalParkingBN10-14.doc
